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                    4.     Name cf judge to whom cz.s.e ·*'as as.sigr.e-d
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             5.    ..~.p p rox i 11.a ! s c' 3.: e c·f filing Ia·ns u it    ---1<::J'--J---.I-~--------------

             7.    Apprcxiu:a:: Ca!: ~f c'is~csitic,n                 ----~u,L.jlL...lA.l-..------------
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        3.   Did you pr~ cr"1t the fac:s relating to JQL.!r cor.1;:·lair1t in the st2.·.~ ;,ris,~:--ier ;:-le·tance :;roccdu~e?
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        c.   if your ar,swer is YES:

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